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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,       )           Crim. No. 13-00765 HG-02
                                )
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
RAMON BONILLA-GALEAS,           )
                                )
                                )
               Defendant.       )
_______________________________ )

ORDER DENYING DEFENDANT’S MOTION FOR MODIFICATION OR REDUCTION OF
    SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2) (ECF No. 131)

                                   and

      DENYING DEFENDANT’S REQUEST FOR APPOINTMENT OF COUNSEL


     Defendant Ramon Bonilla-Galeas, proceeding pro se, has filed

a Motion seeking a sentence reduction pursuant to 18 U.S.C. §

3582(c)(2) and Amendment 782 to the United States Sentencing

Guidelines.   Defendant also requests appointment of counsel.

Defendant is not eligible to receive a sentence reduction.

     Defendant’s Motion for Modification or Reduction of Sentence

pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 131) is DENIED.

Defendant’s request for appointment of counsel is DENIED.


                            PROCEDURAL HISTORY


     On August 1, 2013, the grand jury returned the Indictment

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charging Defendant Ramon Bonilla-Galeas with two counts, as

follows:

       Count 1 for conspiracy to knowingly and intentionally

distribute and possess with the intent to distribute fifty grams

or more of methamphetamine in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A) and 846; and,

       Count 4 for possession with the intent to distribute fifty

grams or more of methamphetamine in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A) and 18 U.S.C. § 2.             (Indictment, ECF No.

10).

       On January 21, 2014, Defendant filed a Motion to Suppress.

(ECF No. 30).

       On February 10, 2014, the Court held a hearing and denied

Defendant’s Motion to Suppress.        (ECF No. 45).

       On September 29, 2014, Defendant pled guilty to Count 1 in

the Indictment pursuant to a Plea Agreement.                (ECF No. 70).

       On July 2, 2015, Defendant was sentenced to 10 years

imprisonment as to Count 1 in the Indictment.               (ECF No. 98).     The

Court granted the Government’s motion to dismiss Count 4 in the

Indictment.   (Id.)

       On July 19, 2015, Defendant filed a Notice of Appeal.                (ECF

No. 105).

       On January 25, 2016, Defendant filed a MOTION FOR

MODIFICATION OR REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. §


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3582(c)(2) (GUIDELINE AMENDMENT No. 782).               (ECF No. 131).


                                 ANALYSIS


     18 U.S.C. § 3582(c)(2) authorizes district courts, in some

circumstances, to modify an imposed sentence in the case of a

defendant who has been sentenced to a term of imprisonment based

on a sentencing range that has subsequently been lowered by the

Sentencing Commission.      United States v. Dunn, 728 F.3d 1151,

1155 (9th Cir. 2013); see also 28 U.S.C. § 994(o).

     The United States Supreme Court has interpreted 18 U.S.C. §

3582(c)(2) as establishing a two-step inquiry.                Dillon v. United

States, 560 U.S. 817, 826-27 (2010).

     First, the Court must determine if a defendant is eligible

for a sentence reduction based on a guideline that has been

lowered by the Sentencing Commission after the date the defendant

was sentenced.    28 U.S.C. §§ 994(o),(u).

     Second, the Court must consider whether a reduction is

warranted pursuant to the sentencing factors set forth in 18

U.S.C. § 3553(a).       U.S.S.G. § 1B1.10 Commentary, Application Note

1(B)(i)-(iii);    Dillon, 560 U.S. at 826-28.

     Here, the Court does not reach the second step in the

inquiry.   Defendant is not eligible for a sentence reduction

pursuant to Amendment 782 to the United States Sentencing

Guidelines.   Amendment 782 was in effect at the time of


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Defendant’s sentencing on July 2, 2015, and it was applied to

calculate Defendant’s sentencing guidelines.


I.   Amendment 782 to the United States Sentencing Guidelines Was
     Already Applied to Calculate Defendant’s Sentencing
     Guidelines At His July 2, 2015 Sentencing


     Defendant requests a reduction in sentence pursuant to

Amendment 782 to the United States Sentencing Guidelines.

(Def.’s Motion for Modification or Reduction of Sentence Pursuant

to 18 U.S.C. § 3582(c)(2) at p. 1, ECF No. 131).

     On November 1, 2014, Amendment 782 to the United States

Sentencing Guidelines became effective.             Amendment 782 reduced by

two levels some, but not all, of the base offense levels in the

Drug Quantity Tables at U.S.S.G. §§ 2D1.1 and 2D1.11.

     Amendment 782 to the United States Sentencing Guidelines was

in effect at the time of Defendant’s sentencing on July 2, 2015.

Amendment 782 was incorporated into the 2014 United States

Sentencing Guidelines.

     Defendant’s Presentence Investigation Report indicates that

the “2014 Guidelines Manual, incorporating all guideline

amendments, was used to determine the defendant’s offense level,

as this guideline manual is more advantageous to the defendant.”

(Presentence Investigation Report at ¶ 24, p. 8, ECF No. 100).

     Defendant’s sentencing guidelines have not been altered.

Amendment 782 was already applied to Defendant.                Defendant is


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ineligible for a reduction in sentence pursuant to 18 U.S.C. §

3582(c)(2).   U.S.S.G. § 1B1.10(a)(2)(B).

      Defendant’s Motion for Modification or Reduction of Sentence

Pursuant to 18 U.S.C. § 3582(c)(2) filed pursuant to Amendment

782 to the United States Sentencing Guidelines (ECF No. 131) is

DENIED.


II.   Defendant’s Request for Appointment of Counsel


      Defendant requests appointment of counsel to assist him in

seeking a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).

(Def.’s Motion for Modification or Reduction of Sentence Pursuant

to 18 U.S.C. § 3582(c)(2) at ¶ 5, ECF No. 131).

      The Ninth Circuit Court of Appeals held in United States v.

Townsend, 98 F.3d 510, 512-13 (9th Cir. 1996) that a defendant

does not have a right to counsel when bringing a Section 3582(c)

Motion.   The appellate court explained that “the constitutional

right to counsel extends only through the defendant’s first

appeal.   After that, the decision whether to appoint counsel

rests in the discretion of the district court.”                Id. (citing

United States v. Whitebird, 55 F.3d 1007, 1009 (5th Cir. 1995)).

      Defendant has not established that appointment of counsel is

warranted as he is not eligible to receive a sentence reduction

pursuant to Amendment 782 to the United States Sentencing

Guidelines.


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     Defendant’s request for the appointment of counsel is

DENIED.

                               CONCLUSION


     DEFENDANT’S MOTION FOR MODIFICATION OR REDUCTION OF SENTENCE

PURSUANT TO 18 U.S.C. § 3582(c)(2) (ECF No. 131) is DENIED.

     Defendant’s request for the appointment of counsel is

DENIED.

     IT IS SO ORDERED.

     DATED:   Honolulu, Hawaii, February 2, 2016.




                                   /s/ Helen Gillmor

                                  Helen Gillmor
                                  United States District Judge




United States v. Ramon Bonilla-Galeas, Crim. No. 13-00765 HG-02;
ORDER DENYING DEFENDANT’S MOTION FOR MODIFICATION OR REDUCTION OF
SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2) (ECF No. 131) and
DENYING DEFENDANT’S REQUEST FOR APPOINTMENT OF COUNSEL
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